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 2                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 3

4 David Murphy,                                           Case No.: 2:21-cv-00092-CDS-DJA

 5                           Petitioner              Order Granting Extension of Time to File
                                                     Answer to Petition to December 27, 2024
 6 v.

 7 Calvin Johnson, et al.,                                          [ECF No. 67]

 8                           Respondents

 9

10         Respondents ask the Court for an extension of time to file their answer to David

11 Murphy’s 28 U.S.C. § 2254 habeas corpus petition. ECF No. 67. Good cause appearing,

12         IT IS ORDERED that respondents’ motion for extension of time to file their answer to

13 the petition [ECF No. 67] is GRANTED nunc pro tunc. The deadline to file the answer is

14 extended to December 27, 2024.

15         Dated: November 14, 2024

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                                                Cristina D. Silva
17                                              United States District Judge

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